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Cars USA02018R00062 eRe OF MARYLAND
IN THHAWAR HD AMWTBS DISTRICT COURT

. FOR Ted DES ERECT OF MARYLAND

AUTIMD “ py RIMINAL no.DKE ~/$-b46

    
 

UNITED STATES OF AME

Vv. BY * (Conspiracy and Interference with
* Commerce by Robbery, 18 U.S.C.
: * §1951(a); Armed Bank Robbery,
DONALD MARCELL RIVERS JR., : * 18 U.S.C. §§ 2113(a), (d) & (f};
TIMOTHY MICHAEL MCLAIN, and * Brandishing a Firearm During a Crime
ASHLEY NICOLE COLLIER, _ , * — of Violence, 18 U.S.C. § 924(c); Aiding &
* Abetting, 18 U.S.C. § 2; Possession of a
Defendants. * Firearm and Ammunition by a
* Prohibited Person, 18 U.S.C. § 922(g)(1);
* Forfeiture, 18 U.S.C. § 924(d))
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SUPERSEDING INDICTMENT

COUNT ONE
(Conspiracy and Interference with Commerce by Robbery)

The Grand Jury for the District of Maryland charges that:

1. At all times material to this Superseding Indictment, the BB&T Bank, located at
1326 Salem Avenue, Hagerstown, Maryland, was engaged in providing banking services to
business and individual consumers in interstate commerce and the business of the BB&T Bank
affected interstate commerce.

2. Beginning at least on January 9, 2018, in the District of Maryland, the defendants,

DONALD MARCELL RIVERS JR.,
TIMOTHY MICHAEL MCLAIN, and
ASHLEY NICOLE COLLIER,

did knowingly, obstruct, delay and affect, and attempt to obstruct, delay and affect, commerce as

that term is defined in Title 18, United States Code, Section 1951, and the movement of articles

and commodities in commerce, by robbery, as that term is defined in Title 18, United States Code,
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Section 1951, and did knowingly conspire with one another to do same, in that the defendants did
conspire to and did unlawfully take and obtain money and property belonging to the BB&T Bank
from the person of and in the presence of employees of the BB&T Bank, against the employees’
- will by means of actual and threatened force, violence, and fear of injury, immediate and future,
to the employees’ person and property in the employees’ custody and possession.

18 U.S.C. § 1951(a)
18 U.S.C. §2
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COUNT TWO
(Armed Bank Robbery)

The Grand Jury for the District of Maryland charges that:
On or about January 9, 2018, in the District of Maryland, the defendants,
DONALD MARCELL RIVERS JR.,
TIMOTHY MICHAEL MCLAIN, and
ASHLEY NICOLE COLLIER,
did by force, violence and intimidation, take and attempt to take from the person and presence of
employees of BB&T Bank, located at 1326 Salem Avenue, Hagerstown, Maryland, the deposits
of which were then insured by the Federal Deposit Insurance Corporation, money belonging to
and in the care, custody, control, management and possession of said bank, and did, in committing

this offense, put in jeopardy the life of a person by the use of a dangerous weapon, that is, a firearm.

18 U.S.C. §§ 2113(a), (d) & (f)
18 U.S.C. §2
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COUNT THREE
(Brandishing a Firearm During a Crime of Violence)

The Grand Jury for the District of Maryland charges that:
On or about January 9, 2018, in the District of Maryland, the defendants,
DONALD MARCELL RIVERS JR.,
TIMOTHY MICHAEL MCLAIN, and
ASHLEY NICOLE COLLIER,
did knowingly (1) possess a firearm in furtherance of, and (2) use and carry a firearm, during and
in relation to, a crime of violence for which the defendants may be prosecuted in a court of the
United States, that is, Conspiracy and Interference with Commerce by Robbery in violation of
Title 18 United States Code, Section § 1951(a), as alleged in Count One of this Superseding
Indictment, and incorporated here by reference; and Armed Bank Robbery in violation of Title 18
United States Code, Sections 2113(a) and (d), as alleged in Count Two of this Superseding

Indictment, and incorporated here by reference, and in doing so, did brandish said firearm.

18 U.S.C. §§ 924(c)
18 US.C.§2
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COUNT FOUR
(Possession of a Firearm and Ammunition by a Prohibited Person)

The Grand Jury for the District of Maryland charges that:
On or about January 9, 2018, in the District of Maryland, the defendants,

DONALD MARCELL RIVERS JR., and
ASHLEY NICOLE COLLIER,

having been convicted of a crime punishable by imprisonment for a term exceeding one year, did
knowingly and unlawfully possess a firearm and ammunition, to wit: a loaded FMK, 9mm semi-

automatic pistol, with Serial Number BT5089, in and affecting interstate commerce.

18 U.S.C. § 922(g)(1)
18 U.S.C. §2
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COUNT FIVE
(Possession of Ammunition by a Prohibited Person)

The Grand Jury for the District of Maryland charges that:
‘On or about November 6, 2017, in the District of Maryland, the defendant,
DONALD MARCELL RIVERS JR.,
having been convicted of a crime punishable by imprisonment for a term exceeding one year, did
knowingly and unlawfully possess ammunition, to wit: one box of Smith and Wesson .40 caliber
ammunition; three boxes of Remington .223 caliber ammunition; two boxes of ACP .380 caliber

ammunition; and one box of ACP .45 caliber ammunition, in and affecting interstate commerce.

18 U.S.C. § 922(g)(1)
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FORFEITURE
As a result of the offenses set forth in Count Three and Four of this Superseding
Indictment, the defendants,
DONALD MARCELL RIVERS JR.,
TIMOTHY MICHAEL MCLAIN, and
ASHLEY NICOLE COLLIER,
shall forfeit to the United States the firearm identified in the Superseding Indictment and

involved in the offenses charged herein.

18 U.S.C. § 924(d)

Stephen M. Schenning
Acting United States Attorney

Stephen M. Mowing lag

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SIGNATURE REDACTED: 24 Jf

FOREPERSON Date

 

 
